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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF ARKANSAS
                                JONESBORO DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
Plaintiff,                                   )
                                             )
v.                                           )       Civil Action No. 3:09-cv-0031 (BSM)
                                             )
BOBBY L. HURT AND SUE R. HURT,               )
                                             )
Defendants.                                  )
                                             )

      UNITED STATES’ REPLY AND WITHDRAWAL OF MOTION TO COMPEL

        The United States filed a motion to compel in this case after Defendants agreed to

produce missing discovery, but failed make a timely production or to respond to multiple

communications from the United States regarding the timeline and status for production. See

Exs. B, C, G to Motion to Compel, Dkt. No. 16. The day before Defendants’ response to the

motion to compel was due, Defendants served supplemental discovery responses on the United

States. As a result, the United States now withdraws its Motion to Compel.




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Respectfully submitted this 16th day of April, 2010,



JANE W. DUKE                                           THOMAS E. PEREZ
United States Attorney                                 Assistant Attorney General
                                                       Civil Rights Division

                                                       /s/ Robin L. Dull
/s/ Stacey E. McCord_______                            /s/ Nicole J. De Sario_______
STACEY E. McCORD                                       STEVEN H. ROSENBAUM
Assistant United States Attorney                       Chief
AR Bar No. 87114                                       REBECCA B. BOND
P.O. Box 1229                                          Deputy Chief
Little Rock, AR 72203                                  NICOLE J. DE SARIO
Tel: (501) 340-2630                                    ROBIN L. DULL
Fax: (501) 340-2728                                    Trial Attorneys
                                                       United States Department of Justice
                                                       Civil Rights Division
                                                       Housing and Civil Enforcement Section
                                                       950 Pennsylvania Avenue, N.W.
                                                       Northwestern Building, 7th Floor
                                                       Washington, DC 20530
                                                       Tel: (202) 514-4713
                                                       Fax: (202) 514-1116
                                                       Nicole.DeSario@usdoj.gov
                                                       Robin.Dull@usdoj.gov




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 16th day of April, 2010, I served United States’ Reply and

Withdrawal of Motion to Compel via ECF on the following:

              TONY L. WILCOX
              SCOT J. LANCASTER
              JEFF O. SCRIBER
              WILCOX PARKER HURST
              LANCASTER & LACY, PLC
              3000 Browns Lane
              Jonesboro, AR 72401
              Counsel for Defendants Bobby L. Hurt and Sue R. Hurt

       I further certify that a copy of this certification was served as indicated above and was

electronically filed with the Clerk of the Court using the CM/ECF system on this date.


                                             /s/ Robin L. Dull
                                             Robin L. Dull
                                             Trial Attorney
                                             Housing and Civil Enforcement Section
                                             Civil Rights Division
                                             United States Department of Justice
                                             950 Pennsylvania Avenue, N.W.
                                             Northwestern Building, 7th Floor
                                             Washington, DC 20530
                                             Tel: (202) 514-4713
                                             Fax: (202) 514-1116
                                             Robin.Dull@usdoj.gov




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